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1
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6     Attorneys for Plaintiff
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8
                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
      TIMOTHY MOORE, on behalf of                ) Case No. 2:23-cv-03325-FLA-AGR
11    himself and others similarly situated,     )
12                                               ) NOTICE OF VOLUNTARY
      Plaintiff,                                 ) DISMISSAL OF THE INDIVIDUAL
13
                                                 ) CLAIMS WITH PREJUDICE AND
             VS.
14                                               ) THE PUTATIVE CLASS CLAIMS
      ADMEDIARY LLC, AND TORT                    ) WITHOUT PREJUDICE
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      EXPERTS LLC,                               )
16                                               )
17    Defendants                                 )
                                                 )
18                                               )
19                                               )
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21           NOTICE IS HEREBY GIVEN that Plaintiff TIMOTHY MOORE, on
22
      behalf of himself and others similarly situated, pursuant to Federal Rule of Civil
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24    Procedure 41(a)(1), hereby voluntarily dismisses the entire case with prejudice as
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      to the individual claims and without prejudice as to the putative class claims. Each
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      party shall bear their own costs and fees. Defendant has neither answered

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                                        Notice of Dismissal - 1
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      Plaintiff’s Complaint, nor filed a motion for summary judgment. Accordingly, this
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      matter may be dismissed without an Order of the Court.
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4           RESPECTFULLY SUBMITTED this 9th day of August, 2023.
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6
                               By:   /s/Todd M. Friedman
                                     Todd M. Friedman, Esq.
7
                                     Law Offices of Todd M. Friedman, P.C.
8                                    Attorney for Plaintiff
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                                       Notice of Dismissal - 2
     Case 2:23-cv-03325-FLA-AGR Document 21 Filed 08/09/23 Page 3 of 3 Page ID #:70



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                                PROOF OF SERVICE
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            I, the undersigned, certify and declare that I am over the age of 18 years,
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4     employed in the County of Los Angeles, State of California, and not a party to the
5
      above-entitled cause. On August 9, 2023, I electronically filed with the Court
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7     through its CM/ECF program and served a true copy through the same program the
8
      following documents: NOTICE OF VOLUNTARY DISMISSAL OF THE
9

10
      INDIVIDUAL CLAIMS WITH PREJUDICE AND THE PUTATIVE CLASS

11    CLAIMS WITHOUT PREJUDICE on interested parties in said case as follows:
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      [x] ELECTRONICALLY, Pursuant to the CM/ECF system, registration as a
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      CM/ECF user constitutes consent to electronic service through the Court’s
14    transmission facilities. The Court’s CM/ECF system sends an email notification of
      the filing to the parties and counsel of record listed above who are registered with
15
      the Court’s CM/ECF system.
16

17
      Place of Filing: 21031 Ventura Blvd., Suite 340, Woodland Hills, CA 91364.
18    Executed on August 9, 2023, at Woodland Hills, CA
19
      [x] I hereby certify under the penalty of perjury that the foregoing is true and
20

21    correct.
22
      By: s/ Todd M. Friedman
23           Todd M. Friedman
24

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                                         Notice of Dismissal - 3
